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 1   BENJAMIN B. WAGNER
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 4   Telephone: (916) 554-2700
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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,              )   CASE NO. CR S-09-074 JAM
                                            )
12                       Plaintiff,         )   STIPULATION AND ORDER TO
                                            )   CONTINUE STATUS CONFERENCE TO
13   v.                                     )   MAY 10, 2011
                                            )
14   DUANE ALLEN EDDINGS,                   )
                                            )
15                       Defendant.         )
                                            )
16                                          )
17
18        It is hereby stipulated and agreed to between plaintiff, UNITED
19   STATES OF AMERICA, through its counsel of record, Matthew C. Stegman,
20   Assistant United States Attorney, and defendant DUANE ALLEN EDDINGS,
21   through his counsel of record, Joseph J. Wiseman, that the status
22   conference scheduled for April 26, 2011, at 9:30 a.m., be rescheduled
23   to May 10, 2011, at 9:30 a.m.
24        The parties further stipulate and agree that a continuance is
25   appropriate in this case and request that the time beginning April
26   26, 2011, and extending through May 10, 2011, be ordered excluded
27   from the calculation of time under the Speedy Trial Act.           The ends of
28   justice will be served by the Court excluding such time, so that the

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 1   attorneys may have reasonable time necessary for effective
 2   preparation, taking into account the exercise of due diligence.            18
 3   U.S.C. § 3161(h)(7).
 4        The government has informed defense counsel that it is awaiting
 5   approval from the Tax Division of the United States Department of
 6   Justice before moving forward on criminal tax charges.          It is
 7   expected that a superseding indictment charging additional crimes
 8   such as tax evasion and bankruptcy fraud will be returned.             Defense
 9   counsel will then need additional time to review and consider these
10   additional charges before setting this case for trial.
11        The parties submit that the interests of justice served by
12   granting this continuance outweigh the best interests of the public
13   and the defendant in a speedy trial.       18 U.S.C. § 3161(h)(7).
14                                    Respectfully submitted,
15                                    BENJAMIN B. WAGNER
                                      United States Attorney
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17
18   DATE: April 20, 2011       By:    /s/ Matthew Stegman
                                      MATTHEW STEGMAN
19                                    Assistant U.S. Attorney
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21
22   DATE: April 20, 2011              /s/ Joseph J. Wiseman
                                      JOSEPH J. WISEMAN
23                                    Attorney for DUANE ALLEN EDDINGS
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 1                                       ORDER
 2        GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT the
 3   status hearing in the above-captioned case be continued to May 10,
 4   2011, at 9:30 a.m.    IT IS FURTHER ORDERED THAT the time from the date
 5   of this Order to May 10, 2011, be excluded pursuant to 18 U.S.C. §§
 6   3161(h)(7) (ends of justice are served by granting the continuance
 7   outweigh the best interest of the public and the defendant in a
 8   speedy trial) and Local Rule T4.
 9   Dated: April 20, 2011
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11
                                      /s/ John A. Mendez
12                                    HONORABLE JOHN A. MENDEZ
                                      UNITED STATES DISTRICT JUDGE
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